Case 1:22-cv-00080-TSK Document 7 Filed 09/08/22 Page 1 of 1 PageID #: 24




                 ~ Compje~t~~1~ ~ A.
                 D ~me and address on the rev                          I x 4~
                                                                            Signature
                                                                                                     ØT~     b

                                                                                                                        ~   ~ssee

                     AttacH this card to th~ back of th maflpiece,    J ~ Y(Printed Name)                          0. Date of Delivery

                1. Mlcle ~                                              D. Is delivery address different from item 1?   C Yes

                                                                                                  Sddress below:        ~ No


                             Steven Robe,-t Brown
                             211 Grant Avenue, Room 2O3-A
                            Morgan~o~~ WV 26505
                     II     l:220v80 DE 5
                     I~                                                                        •pIlve~     D Re~lSte~d Mail ResMct~
                       9590 9402 7205 1284 8687 06
                                                                     0 Cofleøt on Del lye                                    allot,
                                                                       Colfeot on ~                         ~@24 ~allve~y
                              7021 2720 0001 3619 1934                                    ~Deflvery
              PS Form     3811, July 2020 PSN ~
